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WEISBERG LAW Schafkopf Law, LLC

Mathew B. Weisberg, Attorney ID No 85 570 Gary Schatkopf, Attomey ID No. 83362
7 South Morton Ave. ll Bala Ave.

Morton, PA 19070 Bala Cynwyd, PA 19004

610~690-0801 610-664»5200 Ext 104

Fax: 610-690-0880 Fax: 888-238-1334

Attorney for Plaintiffs Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

LIYA MIRANOWIC
45 Cai'oline Drive :
South River, NJ 08882 : No.

and : JURY TRIAL OF TWELVE (12)
DEMAN])ED

VICTORIA MAZEPA

88 Dulles Drive

Dumont, NJ 07628

Plaintiffs,
v.

BRANDON R. WINI), ESQ.
701 West Broad Street

Suite 200

Bethlehem, PA 18018

and

PENGLASE & BENSON, INC.

18 North Main Street

Suite 100

Doylestown, PA 18901
Defendants

Defendants.
CIVIL ACTION COMPLAINT

PARTIES, .]URISDICTION AND VENUE

1. Plaintiff, Liya Mii‘anowic, is an adult individual residing at the above captioned address.

 

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2. Plaintiff, Victoria Mazepa, is an adult individual residing at the above captioned address

3. Defendant Brandon R. Wind Esq, is an attorney Who Was a principal and/or an associate
practicing law at the tirne of the plaintiffs’ representation vvith the law firm of Penglase
& Benson, Inc, currently doing business at the above captioned address

4. Defendant, Penglase & Benson, inc., is a Pennsylvania corporation duly organized and
existing under the laws of the Cornmonweaith of Pennsylvania having its principal place
of business at the above captioned address

5. Jurisdiction in this Honorable Court is based on a diversity of parties conferred by 28
U.S.C. § 1332, the amount in controversy, exclusive ef interest and costs exceeds the
sum of $75,000.00

6. Venue is proper in The United States District Court for The Eastern District of
Pennsylvania as the transactions and occurrences that give rise to the cause of action
have taken place in the Eastern District of Pennsyivania.

OPERATIVE FACTS

7. Plaintiffs Liya Miranowic and Victoria Mazepa, mother and daughter, made extensive
personal and business loans beginning in 1994 and continuing until after the year 2000,
to businessman Anatoly Malozovsky and/or to his Wife Irene Malozovsky.

8. Plaintiff Victoria Mazepa and Irene Malozovsky are cousins resulting in Plaintiffs
Willingness to provide the Malozovsky’s With the requested ioans.

9. Within a few years of the initial loans by Plaintiffs to the Malozovsky’s the latter had
filed their first Chapter 7 Bankruptcy Petition.

10. Plaintit`fs had no notice or knowledge of the Bankruptcy tiling, resulting in Plaintiff’s

debt not being included in the Malozovsky’s tiling.

 

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The Malozovsky’s continued to borrow money for business and personal use from the
Plaintiffs

By 1999 Plaintiffs accepted from the Malozovsky’s collateral consisting of a security
interest in the Malozovsky’s real estate and businesses to cover the increasing loans and
debts Which by the year 2000 had accumulated to the aggregate levei of Three I-Iundred
Ten ($ 310,000.00) thousand dollars

The actions of the Malozovsky’s, on and after 1997, in soliciting and accepting increased
loans and investments from the Plaintiffs at a time When secretly the Malozovsky’s knew
they Were insolvent amounted to pervasive and blatant fraud Which resulted the
plaintiffs’ extension of over Two Hundred ($ 200,000.00) Thousand additional dollars
invested or loaned (part of the $310,000.00 enumerated above) to the plaintiffs’ severe
detriment

The Malozovsky’s, had been repaying a portion of their debt to the Plaintift`s outside of
bankruptcy proceedings

On or about 2010, the Malozovsky’s failed to make the ongoing payments to Plaintiffs.
On or about May 2014 Plaintiffs hired Det`endants Penglase & Benson Inc as Well as
then associate Brandon R. Wind to collect the money owed to Plaintiffs.

It Was only after the Malozoysky’s stopped making payments to Plaintiffs and that the
Plaintiffs discovered the Malozoysky’s had filed for Bankruptcy.
Plaintiffs provided Wind With documentation of the Malozovsky’s newly-discovered
Bankruptcies, including a second filing by the debtors initiated prior to their failure to
continue payments

Plaintiffs specifically discussed the bankruptcy status With defendant Wind, the

 

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fraudulent actions of the Malozoysky’s payments to Plaintiffs outside the bankruptcy
proceedings and the need to pursue the collection within the bankruptcy context and
otherwise

Wind assured the plaintiffs of his knowledge and experience with collection matters,
bankruptcy claims or objections adversary proceedings and all aspects of what was
needed to collect the described debts owed to his clients

Wind sent the Malozovsl<y’s a detailed letter outlining the fraudulent actions undertaken
by the Malozovsky’s and demanding payment be made to Plaintiffs. Exhibit A
Defendants therefore had possession of all the facts and documents required to shape
their opinions, approach, and actions needed to effectively pursue these claims on behalf
of the Plaintiffs.

Instead of effective legal action, what began was almost four years of inept and
substandard legal representation during which defendant Wind caused extensive delay’s
in resolving the matter for Piaintiffs.

Unbeknownst to Plaintiffs, Wind initiated two (2) separate cases on behalf of the
Plaintiffs.

On or about June 5, 2014, Wind filed a Writ of Sumrnons on behalf of Liya Miranowic
against the Malozovsky’s in the Bucks County Court of Common Pleas. (Docket
Number 2014-03962) Exhibit B

On or about July 8, 2014, Wind filed a Writ of Summons on behalf of Vicki Mazepa
against the Malozovsky’s in the Bucks County Court of Common Pleas. (Docket
Number 2014-04647) Exbibit C

On or about November 21, 2014, Liya Miranowic emailed Wind demanding that the two

 

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cases be consolidated under one caption (as they share the same facts and parties).
Exhibit D

Wind then expended considerable additional time and energy attempting to consolidate
the two cases

On or about April 22, 20l 5, Plaintiff Victoria Mazepa send Wind an email demanding
clarification as to when the two cases would be consolidated as several months had
passed since Wind agreed to consolidate the cases Exhibit E

Wind was not able to consolidate the two cases until May of 2015.

On or about May 12, 2015, Wind filed a Writ of Summons on behalf of both Plaintiffs in
the Bucks County Court of Common Pleas. (Docket Number 2015»03557) Exhibit F
Upon filing the Writ of Sumrnons Wind did not provide sufficient information for the
Sheriff to properly serve the papers, causing further delay.

Wind did not serve the Writ of Surnmons upon the Malozovsky’s until December 27,
201 6.

On or about February 6, 2017, nearly two years after consolidating the cases Wind filed
a Civil Action Complaint on Plaintiffs’ behalf Exhibit G

Upon information and belief, defendant Wind did not file an effective Proof of Claim
within the Malozovsky’s’ bankruptcy, nor an adversarial proceeding, nor any action to
Reopen the Bankruptcy for fraud or concealment of assets, nor any Obj ection to
Discharge of any loans or debts

Defendants Wind, and Penglase & Benson, Inc. continued for approximately ten
additional months to ineffectively pursue Plaintiffs ‘claims.

On or about October 2, 2017, Wind emailed Plaintiffs’ that he was under pressure from

 

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the Malozovsky’s attorney to drop pursuit of the Plaintiffs’ claims Exhibit H

38. Defendant Wind and Penglase & Benson, Inc. did discontinue the Plaintiffs’ action
without any result, conclusion or recovery.

39. Plaintiffs are now barred from perusing any claims against the Malozovksy’s due to the
statue of limitations having expired.

40. At all relevant times, Defendants failed to adhere to the standard of care required of
attorneys and have caused great economic and emotional harm to Plaintiffs.

COUNT I - LEGAL MALPRACTICE/ SIMPLE NEGLIGENCE/ PROFESSIONAL
NEGLIGENCE

4l. Plaintiffs repeat and re-allege each of the preceding paragraphs of this Complaint as if
set forth at length.

42. Defendants owed Plaintiffs a duty of care.

43. As more fully set forth above, Defendants failed to render legal services to Plaintiff in
accordance to the standard of care required of attorneys

44. As a direct and proximate result of Defendants Attorneys’ legal malpractice aforesaid,
Plaintiffs were harmed and suffered significant damages, as well as other consequential
and incidental damages

45. Defendants knew or should have known that their actions and omissions aforesaid had an
extremely high degree of probability of causing harm to Plaintiffs.

46. Defendants acted in reckless indifference to the consequences of their actions and
omissions aforesaid, meriting the imposition of punitive damages against them.

COUNT II - BREACH OF FIDUCIARY DUTY
47. Plaintiffs repeat and re~allege each of the proceeding paragraphs of this Complaint as if

set forth at length.

 

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48. Plaintiffs and Defendants had a fiduciary relationshipl

49. Defendants breached their fiduciary duties owed to Plaintiffs, as more fully set forth
above, and also acted in a violation ofthe New Jersey Rules of Professional Conduct.

50. As a direct and proximate result of Defendants’ breach of fiduciary duty aforesaid,
Plaintiff has been harmed and continues to be harmed, and has incurred significant
damages as well as other consequential damages

5 l. Defendants knew or should have known their actions and omissions aforesaid had an
extremely high degree of probability of causing harm to Plaintiffs.

52. Defendants acted in reckless indifference to the consequences of their actions

COUNT III-BREACH OF CONTRACT

53. Plaintiffs repeat and re~allege each of the proceeding paragraphs of this Complaint as if
set forth at length.

54. Plaintiffs and Defendants entered into a contract for legal services

55. Defendants' aforementioned conduct constitutes a breach (express implied, or as a
matter of law) of that agreement to provide competent and effective legal services as
well as a breach of the covenant of good faith and fair dealing.

56. As a direct and proximate cause of the aforesaid (incorporated by reference), Plaintiff
has been damaged (as set forth abcve).

WHEREFORE, Plaintiff demands judgment in their favor and against Defendant, for an

amount in excess of $75,000.00, plus interest, costs of suit, attorney’s fees and punitive

damages plus other relief which this Honorable Court deems necessary and just.

 

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Respectfully Submitted,
WEISBERG LAW sCHAFKoPF LAW, LLc
w
BY: /s/Matthew Weisberg BY: //’\4/ g M/
MATTHEW B. walsBERG, asQ GARY oiiA’FKoPF, Esqi{/

DATED; ll*\j`[g DATE: Q_..§{~gg

 

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EXHIBIT A

 

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Anatoly and lrene Malozovsky
25 Buck Road 0
Huntington Va]ley, PA 19006

RE: Victoria Mazepa/Liya Miranowic

Dear Mr. and Mrs. Malozovsky:

Please be advised that this office represents the above listed persons Ms. Miranowic and
Ms. Mazepa, and all correspondence or communication regarding them should be directed to my

officel

As you are well aware, on multiple occasions my clients have loaned to you certain sums of
money. More specifically, they initially loaned you Sixty Thousand Dollars back in 1994 (a copy
of the document is attached for your recollection) in which you agreed to repay the principal plus
an additional amount equal to fifteen percent (15%) interest. Without notice to my clients you
subsequently filed for Chapter 7 Bar:kruptcy protection in an effort to discharge your obligations
to my clients and others My clients were never notified of the bankruptcy and were, We believe,

not listed as creditors on your petitionl

As my clients were unaware of the bankruptcy filing, they agreed to extend additional loans to
you in the amount of Forty Thousand Do]lars ($40,000.00} on or about December 1, 1998, One
Hundred Thousand Dollars ($100,000.00) on or about March 8, 1999, Twenty Thousand Do]lars
($20,000.00) on or about July l, 1999, Ten Thousand Dollars ($10,000.00) on or about
December 9, 1999, Twenty Thousand Do]lars ($20,000.00) or about January 14, 2000, Twenty
Thousand Dollars ($20,000.00) on or about March 8, 2000, Thirty Thousand Dollars
($30,000.00) on or about July l, 2000 and Ten Thousand Dollars ($10,000.00) on or about

October 15, 2000.

lt goes without saying that my clients would not have loaned additional amounts of money, Well
in excess of Two Hundred Thousand Dollars ($200,000.00) had they been aware of the prior
bankruptcy, which was intentionally, and fraudulently, hidden from them. I’d like you to know
that a loan received as a result of fraud is not dischargeable in bankruptcy and is a secure debt

which must be repaid

 

 

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In addition to being loans made to you, these substantial amount of the funds given were
investments into partnerships which were personally guaranteed by yourselves These loans both
to the partnership, and to you individually, were based upon fraudulent promises made by both
of you specifically designed to make us believe that you had the intention of repaying your debts
Your actions were, and remain to date, clearly a fraud to deceive my clients your own family
members lt is unconscionable that you would so willingly defraud family as you have done.

Demand for repayment of the principal investments which you started in 2004 and interiupted in
2010 is still in effect. You have repeatedly set forth your intention to pay and have repeatedly
made comments about knowing the loans and investments exist and that you want to do what is

right within the family.

Should you wish to resolve this amicably, and to avoid the need for protracted legal fighting and
expensive legal fees please feel free to contact me to discuss an amicable resolution regarding
the same. My clients are willing to work with you to resolve this matter, including rra-instituting
payment terms which are beneficial to both parties lt` you resume your regular monthly
payments my clients will honor the "old" deal to reimburse the full principal without paying the
interest lt you refuse,` we will ask for both. In any case, no doubt, it s bette1 for you to pay back
the money to your relatives towards the balance owed than to pay substantial attorney fees
Aside from paying large legal fees if you refuse to repay the money, we will not only ask you to
pay the principal and the interest, but we will also ask the Court to take into receivership any and
all assets which are owned by you and we will fight you in every way possible until the money is

reimbursed

'l`o avoid it, we hope that you make the right decision to honestly repay your debts which will
positively affect you, my clients and the whole family bringing peace to everyone involved.

We look forward to hearing from you in an effort to resolve this amicably
Respectfully,
Brandon R. Wind

BRW/
Cc: C|ients

 

 

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EXHIBIT B

 

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;.?BNGLASE & BENSON, lNC.
Brand'on R. Wind, Esquire

I.i). No. 78229

110 North Main Street
Doylestown, PA 1890`1

(215) 34 8-441'6
_ Attomeyfor Plaintz'jj”l.iya Mranowic

LIYA MIRANOWIC : lN THE COURT OF COMMON PLEAS
45 Caroline Drive ~ : OF BUCKS COUNTY, PA

So River NY 08882

PLAMIFF ‘ CIVIL ACTION- LAW
V‘ \i\ll-ilillllilllll\\l\
ANTHONY lV.lALOZOVSKY and ; NO_ emg B,MDE,Q 399 ios/3116
IRENE MALOZOVSKY ll/W j met 112 unsatime wp{o€h°n°tarv
25 BLle ROB.d : ;::"Y'§O\;£§;l‘};fn simms 12-. 05. 19 PM

Huntingdon Va]ley, PA 19006

PRA.ECIPE T(} ISSUE WRIT OF SUMMONS
CIVIL ACTION
"I`O THE PRO'I'HONOTARY:

Kindly issue a Writ of Summons against Defendants Anthony Malozovsky and lrene

Malozovsky, concerning the above captioned matter.

X Writ of Sunm`ions shall be issued and forwarded to Attorney/Sheriff

bate: d"'$“’” /?

Penglase & Benson, lnc.

Brandon R. Wind, Esquire
Attomey for Plaintiff

 

 

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EXHIBIT C

 

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PENGLASE & BENSON, INC.
Brandon R. Wind, Esquirs

 

I.D. No. 78229
110 North Main Street
Doylestcwn, PA 18901
(215} 348-4416
Ai‘tomeyfor Plaintiff Vr'ckr' Mazepa
Vielci Mazepa : lN THE COURT OF COMMON PLEAS
45 Caroline Driye : OF BUCKS COUNTY, PA
So River NY 08882 - :
PLA]N'I`IFF : CIVIL ACTION ~ LAW

V. §
ANTHONY MALozovsKY and § No. ' !lll Mmlgl`lwl'mll m
IRENE MALOZOVSKY h/W :”:2°1¢°"6" 909 1°8°5737
25 BUCIC RQBd : g:l::I:-EEachll:,ug?::k::-]Counfy Pmthonotary

_ chl; 2014-32-02655 718{2|3¥4 3; 20‘ ,43 PM

Huntingdon Valley, PA 19006

 

PRAECIPE TO ISSUE WRI’I` OF SUMMONS

CIVIL ACTION

TO Tl~[E PROTHONOTARY:
Kindly issue a Writ of Summons against Defendants Anthony Malozovsky and irene

Malozovsky, concerning the above captioned matter.

X Wl‘it of Sumrnens shall be issued and forwarded to Attorney/Sheriff

Date: `Zf ;Qg-ZDF cf

Penglase é’<: Benson, Inc. é/

/a/

E‘.Y§_randon R. Wind, Esquire
Attorney for Plaintiff

 

 

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EXHIBIT D

 

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We realty hope that we can work together and look toward to a good business relationship.

Have a very Happy Thanksgiving.

Stncerely,

Liya and Victoria

From: Brandon Wind Esq <bwind@_[)gnglaseandbenson.com>
Date: Friday, November 21, 2014 at 11:04 AM

To: Vickl Mazepa <vmazeMgmail.com>

Subject: Re: John Benson and l are updating you on the documents

 

Liya~

l will take the steps necessary to have the matters consolidated under one caption. That will be done at my expensel
The address does not need to be changed at this time.

l will discuss any other financial matter with my partners

Sent from my iPhone

On Nov 21, 2014, at 8:09 AM, Vicki Mazepa <vmazepal@_gmail.com> wrote:

Brandon,

Fina||y, after such a long wait we got the documents which you were obligated to send us right away
without our numerous demands and without writing to lohn Benson. l'l| be honest with you, after
seeing those documents we are both outraged, because you didn't process our case properly from the
start and you continued to add one mistake after another:

1. l did n't ask you to tile two separate cases -- one for me and one for Vicki. l could never imagine
that you would do such a thing. You made a second fatal mistake after the first one, when you
without any proper}ustification and without consulting with us excluded Vicki, which
jeopardized my case right from the sta rt. l explained to you then that it was absolutely
necessary for us to be together in one case. le expectation was that you would add Victorla‘s
name to my case, like we agreed originally Vou didn't do that, filing it separately instead, which
ls equal to me losing the case. Ycu obviously didn’t pay too much attention to what | explained
to you earlier regarding the bare necessity for us to have one joined case. lf you wou|d*ve at
least sent me those documents on time, l wou|d've immediately pointed that out to you.
Instead l got it a half a year later only to find out that you didn’t Ex your original major mistake
property, making a new one instead and once again jeopardizing my case in a different way.

 

 

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2. You were informed on more than one occasion that my daughter is officially Victoria Mazepa,
not Vickl iviazepa. Vicki is short for Victoria. Besides that, she doesn't live at 4_5 Caroline Drive in South
River. She has a different address, which you should've known if you acted properly

l have no choice, hutto demand from you to Hx everything i just pointed out, Our case should have one
docket number, not two, and it should read:

 

l_lYA lVllRANOW|C AND VICI'OREA lVlAZEPA

Pl.AlNTlFFS

V.
ANTHONY MALOZOVSKY AND lRENE MALDZOVSKY

DEFENDANTS '

 

Or if it's absolutely necessary to add the address,

 

LIVA MlRANOWlC and VlCTOR|A MAZEPA
45 Caroline Drive 88 Duiies Drive,
South River, N.l 08882 Dumont, N.l 07628

PLA|NT!FFS

ANl`HONY MALOZOVSKY and lRENE MALOZOVSKY

25 Buck Road,
l-luntington Valiey, PA 19006

DEFENDANTS

 

You must fix it right away, considering how much time you already wasted, and you must do it at your
own expense, not mine, like you did last time.

Talking about expenses, l asked you many times to properly adjust our account You dldn't say anything
regarding that important issue in your correspondence

We are as king you to respond immediately to ali the issues raised in this e~mail.

l_iya

 

 

 

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EXHIBIT E

 

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Subject: RE: update

Date: Wednesday, April 22, 2015 at 9:41:34 AM Eastern Dayiight Time

From: Brandon Wind

To: 'Vicki Mazepa'

l have been to the Court on 2 occasions trying to get the matter finalized. l am waiting on them confirming
that it is done. l have been expecting it for the past few days and will he going back over there again to see
whether it is completed today.

Fron‘ii/|cki Mazepa [mailto:vmazepai@gmaii.corn]

Sent: Wednesdey, April 22, 2015 9:07 AM

To: Brandon Wind
Subject: Re: update

Brandon,

Every time we asked you if you consolidated our case, you always promise to go to Court next day, finalize it and
let us know. After that you always disappear until our next e-mail leaving us guessing. We are sick and tired of
waiting. So, once and for ail, please give us a straight answer if the case is fina|iy consolidated after such a long

wait.

You waisted a whole year and didn't move forward to achieve what we hired you for. We feel that you completely
mishandled our case and we would like you to prove us wrong.

So, once again, for God knows which time, we»are asking you where we stand with our consolidation and the
settlement letter?

Please let us know right away,

Liya and Vlctoria

From: Brandon Wind <jgwind@_peng dbenson.com>
Date: Friday, April 10, 2015 at 9:45 Alv‘l

To: Vicki Mazepa <vmazepaii@_grnail.com>

 

'Subject: RE: update

l had hoped to send both together,

i went over to the Court to Admlnlstration to see whether l could get this resolved quickly i had hoped to
take care of it that day but am awaiting word from Court Administration. l will be back there this
afternoon on another matter and wi|i see if it is resolved. l am hopeful and optimistic

 

 

Case 5:18-cv-05216-|\/|AK Document 1 Filed 12/04/18 Page 21 of 36
Wednesday, November 1, 2017 at 11:14:10 P|vi Eastern Dayiight`l`ime

Subject: Re: update on matter
Tuesday, October 3, 2017 at 9:45:43 Alvi Eastern Dayiight Time

Date:

From: Vicki

To: Brandon Wind
Brandon,

You had a wrong strategy from the start making one mistake after another. lt was your responsibility to do the right
thing for the case land not ours!}, but seeing that you're not doing it and after talking to other attorneys we asked
you on ma ny occasions to file the motion with the Banl<ruptcy Court for non-dischargeability of our money, based on
the Defendani’s fraud and on the fact that they intentionally and consciously didn't include us into the bankru ptcy,
acknowledging their debts instead by paying them long after the bankruptcy and making them secured

You didn’t do it jeopardizing our case and allowing Nlr. Kaliner to threaten us now and file his motion only because
you didn't file yours on time. You got us into this situation and you must find a solution to get us out, without losing

the case.

Liya and Victoria

On Oct 2, 2017, at 12:13 Pivi, Brandon Wind <bwind@pe_nglaseandbenson.com> wrote:

 

Vicki~

l have just gotten off the phone with ivir. i<a|iner. l-ie is preparing to file a iviotion with the
Bankrutpcy Court to hold us in violation of the discharge of debtor. lf he does go ahead and file
that, he will make the argument that l forwarded to you a few months back, that the Court's
have taken the position that in circumstances like these, the discharge was effective as against
the debts that he owed you (even though the debts were erroneously ommitted from the

schedulesl.

The Courts have been pretty clear, and l haven't been abie to find an exception to this, that they
are willing to err on the side of the Debtor [meaning that the Court will probably agree with

himj.
i have made my arguments to him as we discussed He is unmoved and hasn‘t changed his
position. '

if we proceed, there is a chance that we will be sanctioned by the Banl<rutpcy Court.

He has given us until the end of the week to agree to end the lawsuit or he will file the iviotion
seeking the sanctions against us.

This has nothing to do with time lapsed....he takes the position that this debt hasn't been owed
since the bankruptcy was discharged and there was nothing we could have done about it since

then.
Brandon R. Wind, Esquire

PENGLASE AND BENSON, lNC.
18 l\lorth lVlaln Streei:

Page 1 of2

 

 

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EXHIBIT F

 

 

CaS€ 5218-CV-05216-|\/|AK

PENGLASE & BENSON, INC.
Brandon R. Wind, Esquire

I.D. No. 78229

110 Norih Main Street
Doylestown, PA 18901

(215) 348-4416

LIYA MIRANOWIC
45 Caroline Drive
So R_iver NY 08882

and

VICTORIA MAZEPA
88 Duiies Drive
Dumont, NI 07628

V.

ANATOLY MALOZOVSKY and
IRENE MALGZOVSKY h/w

25 Buck Road

Huntingdon Valley, PA 19006

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JURY TRIAL DEMANDED

Az‘toi'neyj?)r Plainrij'l§iya Mz')‘anowic

: TN THE COURT OF COMMON PLEAS
: OF BUCKS COUNTY, PA

§ clvll, ACTION.- LAW

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Case#_' 2015-03557 BDQ 10569836

: N'Ol go:|e: u .iudge;aa
a cia L. Bachile_ Bucics County Proiho di
. Rept: 2015-41-00572 5112»‘2015 12:0@:1;;;1¥

 

SUIV_RVIONS IN CIVIL ACTION

TO: ANATOLY MALOZOVSKY AND IRENE MALOZOVSI<’LY

YOU ARE NOTIFIBD TI-IAT THE ABOVE~NAMED PLATNTIFF(S) HASUAVE
COMMENCED AN ACTION AGA]NST YOU.

Patricia L. Bachtio,
Prothonotaty

Date: ___r';./j;‘\/!§
/ /

W%M

156qu

 

 

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EXHIBIT G

 

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PENGLASE & BENS ON, INC.
B;randon R. Wind, Esquire

I.D, No. 78229

110 Norih Main Street
Doylestonm, PA 18 901

(215) 3¢48-4416

Liya Miranowic
45 Caroline Dtive
80 Rs'ver NJ »0888.2

And

Victoria Mazepa
1188 Dn'll.es Drive
Dumont, NJ 07628
PLAINTIFFS

V.

ANATDOLY MALozovsKY
(a/k/a Anthony Malozovsky)
and ~

£RENE MALOZ-OVSKY lof-w
25 Buck Road

Huntin_gdon Vallcy, PA 1900(_5

Ati‘orneyfor Plaini‘i]fs‘

: IN THE C_OURT OF COMMON PLEAS
: OF BUCKS COUNTY, PA

: JURY TRIAL DEMANDED

: CIVIL ACTI ON - LAW

: NO. 2015~03557

N OTI CE

You have been sued iit-Court Ifyou wish to defend against the claims set forth in the

following pages, you must take action within TWENTY (20) DAYS after this Complaint and

No-ti.ce ace served by entering a written appearance personain or by attomey, and filing in writing

with the Court your defense or objections-to the claims set forth against yon. ,You are warned that

=ifyou fail to do so,\the case may proceed without you and ejedgment may be entered against you

by the Court without further notice for any money claimed in the Complaint or for any other

claim or.rel-lef requested by the Plaintiff You may loose money or property or other rights

important to you.

 

 

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YO_U _SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. lF YOU
DO NOT HAVE A LAWYER OR CANNO'I' AFFORD ONE, GO TO OR
TELEPHONE THE OFFICE SET FOR'I`H BELOW. TIHS OFFICE CAN l
PROVIDE YOU WITI~I INFORMATION ABOUT HIRING A LAWYER.

IF Y-OU CA-NNOT AFF-ORD TO HIRE A LAWYER, '=I`HIS OFFIC-E MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOU'I` AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED

FEE,

Bucks County Bar Association
135 East State Strce.t
P. O. Box 300
Doylestown, PA 18901
215-348-9413
(fax) 215.343_3277

AMER]CAHS Wl‘l`li DISA,BILI l l§S ACT Of l&§_lQ

eCour Com on Pleas of Bucks Conn is re ired b law to com 1 with the Amcri n
with Dis biiities Ac of i99 . _oc‘ information ab ut accessible feel itlcs and reasonable accommodaiio s
vailabie to disabled individuals havin us`ncss before th n le c c c our cities Ai
amin c c ts mustb.c made at least 2 ho r , rior to rin or bi ' bc orethe rt Vou must

attend the scheduled conference or hearingl

 

PENGLASE st BENSON, INC,

,/%/%/

y:Brandon Wind, Esquire
Attomoy I. D. No. 73229
18 North Maln S“ireet
Doylestown, PA 18901
(215) 348-4416
Attorney for Plaintiff`s

 

 

CaS€ 5218-CV-05216-|\/|AK

PBNGLASE & BENSON, INC.
Brandon R. Wind, Bsquire

I.D. No. 78229

110 Noi'th Main Sh'ect
Doylestown, PA 18901

{215) 34'3-4416

Liya Miranow_ic
45 Caroline Di'ive
-So River NJ 08882

.And

Victoria M-azepe
88 Dulles Drlve
Dumont, N.l 07628
PLAINTIFFS

V.

ANATOLY MALOZOVSKY
(a/l</a Antbony Malozovsky)
and

IRBNE MALOZOVSKY hfw
25 Bucls Road

Huntingdon Valley, PA 19006

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Atto)‘ney for Plafiiiifjcs

: IN THE COURT OF COMMON PLEAS
: OF BUCKS COUNTY, PA

§ JURY TRIAL oaMAN:i:)e):)

: CIVIL ACTION ~ LAW '

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COMPLAINT

Plaintiffs Liya Miranowic and Victoria Mazepa (“Plaintiffs”) hereby Complain las against '
the Defendants and in support thereof aver as fo-llows:

1. Liya Miranowic is an adult individual with a primary residence of 45 Caroline Drive,

Sonth River, New liersc~_y.

2. Vietoria Macha is an adult individual With a primary residence of 88 Duilcs Drive,

'Durnont, New llersey.

`3. A_natoly Malozovsky (afk/a Anthony Maiozovsky) and Ircnc Malozovsky are married
adults with a primary address of 25 Buci< Road, Huntington Vaiiey, Pennsyiva nia.

4. Sta_rting in 1994, the Plaintiffs did begin to lend money to the Defendants for their

business and personal use.

5. At a time subsequent to the bon'owing of the money from the Plaintiffs, the
Defendants fich for a personal Chapter 7 Banlcroptcy to discharge many of their

personal debts

 

 

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6. The obligation connected to the money loaned and invested from the Plaintiffs was
not included in the filing and the Pl-aintiffs were never notified of the bankruptcy

7. Subsequent to the filing of the bankruptcy, the Defendants approached the Plaintiffs
again for additional investment loans while still never disclosing the bankruptcy to

the Plaintii"‘l’s.

S. As`a t'esult, from October of1994 until March of 1999 Defendants borrowed nom the
Plaintiffs the amount of $200,000.00 through different loans, promising to pay annual
interest at 15 %. There was no specific time period of repayment on the loans.

9. Further, not knowing about the prior bankruptcy in J'uly of 1999 Plaintiffs agreed to
form a new business partnership with the Defendants Since that time the Plaintifts

invested an additional $110,000.00 into that paitn_ership,

lO. Altogether the Plaintiffs have loaned and invested money with the Defendant in the
amount of $310,000.00 with the Defendants agreeing that their home was to be used

as collateral for all the outstanding debt.

l 1. The parties agreed to modify the outstanding Agreements in September 2004
With Plaintiffs agreeing to eliminate the interest under the condition that
Defendants reimbursed a full principal of $3 10,000.00, consistently making
monthly payments of $2,5 00 until everything Was repaid

12. Defendants honored that deal up to 2010, with inconsistent payments of less
than $25-00, resulting in the total reimbursement of $SG,BBB.DU.

`13. To date, the invested money has not been repaid, leaving the difference of
$2_5‘9,20-{}.00 unreimbursed

14. Defendants acknowledged the debt but have failed to continue to make
paymentsj resulting in the Plaintifi`s sending a demand for payment in the
summer ol" 2015, seeking the remaining principal owed and setting forth that
failure to receive payment would enable Plaintiffs to seek the amount owed plus
the interest permitted under the prior agreements up to 15% for the investment
amounts and the most permitted by law for any other amounts

15. Plaintif“i`s have determined thatthe funds loaned and invested with the
Defendants may have been used for personal obligations of the Defendants and
despite demand for the repayment, made in july 2015, none has been

forthcoming

,16. As Defendants failed to fulfill the Agreement which waived the interest, the Plaintiff

now seek the interest on the payments

17. Plaintiffs Were also unaware and were not informed that besides filing for
bankruptcy in 1 997, the Defendants filed for another bankruptcy in 2094, which

 

 

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Was discharged in 2008. Then, just two years later, in 2010, they filed for a new
bankruptcy again.

18. Knowing the Defendant’s past, the Plaintifl"s believe and therefore aver that
Defendants are planning a new bankruptcy to get rid of their financial
obligations to the Plaintiffs and, possibly, others

COUNT I
BREACH OF CONTRACT
Plaintiffs v. All Defendants

19. Plaintiffs incorporate the preceding paragraphs as fully as if set forth herein at length.

20. Plaintiffs and Defendants had entered into an ongoing contract on or about 1994,
wherein the parties agreed to work together for the benefit of each other.

21. Further, the Plaintiffs loaned and invested money with the Defendants over time for
the purpose of furthering their general partnershipl

22. The Plaintist and Defendants revised their Agreement as recently as 2004 and
created an Agreement with no end date for the purpose ofrepayment.

23. Plaintiffs have £ixlfilled their part of the agreement in diligent form.

24. Defendants have breached their duties by engaging in acts which were clearly .
detrimental to both the entity and to Plaintiffs.

25. The breach of the duty owed by Defendants to Plaintiffs has been the proximate cause
of the damage suffered by Plaintiffs, more specifically the money which Plaintiffs
Would have been entitled to had Defendants not breached the contract

26. The actions undertaken by the Defendants were specifically designed to benefit the
Defendants at the expense of the Plaintiffs.

27. Plaintiffs are entitled to be made whole by Defendants and to receive the hinds which
have never been repaid by the Defendants

WHEREPORB, Plaintiffs pray this Honorable Court will enter judgment in favor of the
Plaintiffs and against the Defendants, jointly and severally, in an amount in excess of Fifty

Thousand Dollars, plus attorney fees and costs along with any other remedy this Court deems

proper.

 

 

 

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COUNT ll
BREACH OF FIDUCIARY DUTY
Plaintiffs v. Defendants

28. Plaintiffs incorporate the preceding paragraphs as fully as if set forth herein at length.

29. As a partner in the general partnership between the parties, each owes a fiduciary
duty of loyalty and good faith to the partnership and the other partners, including
Plaintiffs. Defendants’ fiduciary duties include but are not limited to obligations to
exercise good business judgment, to act prudently, to discharge their actions in good
faith, to act in the best interest of the partnership and to put the interests of the

partnership before their own.

30, Defendant breached their fiduciary duty of care by, amongst other things, routinely
mismanaging the partnership and invested funds and failing to comply with the
agreements between themselves and the Plaintiffs.

31. Defendants breached their duty of loyalty and good faith by, among other things,
failing to comply with agreements between themselves and the Plaintiffs. The breach
includes, but is not limited to, converting funds intended for the general partnership to

be used for personal use.

'32. Plaintiffs have been damaged by the Defendants’ breach of the fiduciary duty.

WEREFORE, Plaintiffs pray this Honorable Court will enter judgment in favor of the
Plaintiffs and against the Defendants, jointly and severally, in an amount in excess of Fifty

Thousand Dollars, plus attorney fees and costs along with any other remedy this Court deems

proper.

C{)UN'I` III
ACCOIJNTLNG
Plaintiffs v. Defendants

33. Plaintiffs incorporate the preceding paragraphs as if set forth herein at length.

34. Defenda nts have repeatedly refused to provide a iiill and proper accounting of all the
funds which Were diverted for their personal use.

35. Having excluded Plaintiffs from the day to day accounting which is handled by the
Defendants., the Defendants have a duty to account

36. By virtue of Plaintiffs being excluded from the daily accounting and by Defendants’
other improper conduct as aforesaid, Plaintiffs are entitled to an account by the

 

 

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Defendants of all monies which have been wasted, converted andfor lost by virtue of
the breach of obligations and as may be determined in discovery

WHEREFORE, Plaintiffs demand an accounting and the entry of judgment in their favor
and against the Defendants, jointly and severaliy, for the value of the monies and property which

is shown by such accounting to have been wasted, converted or lost through misconduct,

mismanagement and breach of obligations

COUNT IV
FRAUD
Plaintiffs v. Defendants

`37. Plaintiffs incorporate the preceding paragraphs as if set forth herein at lengt-h.

38. Defendants promised the Plaintiffs that they were going to take care of the financial
aspect of the investments, including the tinancialrecords, payments and receipts and

that Plaintiffs would be repaid accordingly
39. Defendants did this with the full intent to keep most of the money without repayment.

40. Plaintiffs reasonably relied upon the promise of Defendants that they were going to
handle the financials in a manner consistent with a partnership

41, Defendants intentionally failed to inform Plaintiffs of certain material facts, most
Specifically the filing of personal bankruptcies and their intent to not repay most of
the monies loaned and invested by the Plaintiffs because of that deception

42. Defendants timber failed to disclose to the Plaintiffs that the monies were being used
for personal expenses

43. Defendants additionally promised their home as collateral _for the loans and
investments when the Defend acts knew there was no equity in the house

-44. Plaintiffs relied to their detriment on the Defendantsi misrepresentations and
omissions and were deceived by the Defendants' fraudulent conduct

45. Plaintiff believes and therefore avers that Defendants knew the documents they were
providing to the Plaintiffs were fraudulent and had no value

46. Plaintiffs believe and therefore aver that Defendants knowingly withheld information
from the bankruptcy court, including assets and liabilities related to the `Plaintiffs,
specifically to assist them in continuing the fraudulent behavior towards the Plaintift`s
and manipulating the legal system to their advantage

 

 

 

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47. As a result of Defendants' acts and omissions, Plaintiffs have been fraudulently
induced into believing that the Defendants intended to honor the Agreements and that
the Plaintiffs would be repaid the money they loaned.

48. Had Plaintiffs been aware of the intentional omissions, Plaintiffs would have been in
a position not to lend and invest the additional money and limit their losses

WEREFORE, Plaintiffs respectfully request that this Honorable Coult enter judgement
in their favor and against all Defendants, jointly and severally:

a) awarding Plaintiffs compensatory damages for all pecuniary loss resulting from
the misconduct of the Defendant~s;

b) awarding Plaintiffs punitive damages for the willful, wanton, deliberate and
malicious acts of the Defendants;

c) awarding Plaintiffs the costs of this suit, including reasonable attorney fees;
and

d) awarding Plaintiffs such other relief as this Court deems appropriate under the
circumstances

COUNT V
Civil .Conspiracy
Plaintif£s v. All Defendants

49. Plaintiffs incorporate the preceding paragraphs as if set forth herein at length

50. Defendants all agreed that they would use the funds received from the Plaintiffs for
their personal use.
51. The Defendants worked together to persuade the Plaintiffs to loan and invest

substantial sums of money with the Defendants knowing that they would never repay
the obligation and refusing to repay most of the funds when demanded

52. Defendants further Worked together to hide from disclosure the bankruptcy filings
that would have alerted the Plaintiffs to the Defendants true intent of receiving the
loans and investments when they had no intention ofi'epaying the debts and

obligations in fa]l.

WHEREFORE, Plaintiffs respectfully request that this Honorable Co nrt enter judgment
in their favor and against all Defendants, jointly and severally:

a) awarding Plaintiffs compensatory damages for all pecuniary loss resulting from
the misconduct of the Defendants;

 

 

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b) awarding Plaintiffs punitive damages for the wlllful, wanton,- deliberate and
malicious acts of the Defendants;

c) awarding Plaintiffs the costs of this suit, including reasonable attorney fees;
and _

d) awarding Plaintiffs such other relief as this Court deems appropriate under the
circumstances

PENGLASE AND BENSO

/M, _

Brandon R, Wind, Esquire
Attorney for Plaintiffs

D_ate:

 

 

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VERIFICATION
I, Brandon Wind, verify that l am authorized on behalf of the Plaintiffs and that
the statements made in the forgoing document are true and correct to the best of our
knowledge mfonnation and beliefl l understand that false statements herein are made

subject to the penalties of 18 PA C.S.A. §4904 relating to unsworn falsification to

/,%i/Q/

(Nam€)

authorities

 

 

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EXHIBIT H

 

Subject: Re: update on matter

Date:

From: Vicki

t'o: Brandon Wind
Brandon,

Vou had a wrong strategy from the start making one mistake after another. lt was your responsibi!ity to do the right
thing for the case (and not ou rsl), but seeing that you're not doing it and after talking to other attorneys we asked
you on many occasions to ti le the motion with the Bankruptcy Court for non-discha rgeabil}ty of our money, based on
the Defendant’s fraud and on the fact that they intentionally and consciously didn't include us into the bankruptcy,
acknowledging their debts instead by paying them long after the bankruptcy and making them secured.

You didn't do itjeopardizing our case and allowing Nlr. !<aiiner to threaten us now and fife his motion only because
you didn't tile yours on time. You got us into this situation and you must find a solution to get us out_. without losing

the case.

Liya and V|ctorta

On Oct 2, 2017, at 12:3.3 PNl, Brandon Wind <bwind@pe_nglaseandbenson.com> wrote:

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Wednesday, November 1, 2017 at 11:14:10 PM Eastern Daylight Time

Tuesday, October 3, 2017 at 9:45:43 Alvt Eastern Dayilght Time

 

Vici<i-

l have just gotten offthe phone with Mr. Ka|iner. He is preparing to tile a Motion with the
Bani<rutpcy Court to hold us in violation of the discharge of debtor. if he does go ahead and tile
that, he witt make the argument that l forwarded to you a few months back, that the Court's
have taken the position that in circumstances like these, the discharge was effective as against
the debts that he owed you (even though the debts were erroneously omrnitted from the

schedulesl.

The Courts have been pretty clear, and i haven't been able to find an exception to this, that they
are willing to err on the side of the Debtor [meaning that the Court will probe bly agree with

him).
t have made my arguments to him as we discussed He is unmoved and hasn't changed his
position. '

if we proceed, there is a chance that we will be sanctioned by the Bankrutpcy Couri:.

He has given us until the end of the week to agree to end the lawsuit or he will tile the Motion
seeking the sanctions against us.

This has nothing to do with time iapsed....he takes the position that this debt hasn't been owed
since the bankruptcy was discharged and there was nothing we could have done about it since

then.
Brandon R. Wind, Esquire

PENGLASE AND BENSON, |NC,
18 North Main Street

Page 1 of 2

 

 

 

